         Case 2:22-cr-00017-JAD-DJA Document 41 Filed 06/28/24 Page 1 of 1




 1                               UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                            Case No. 2:16-cr-00296-JAD-PAL-3
 4                                                                 2:22-cr-00017-JAD-DJA
                    Plaintiff,
 5
            v.                                            ORDER
 6
     CORBIN REYNOLDS,
 7
                    Defendant.
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10          IT IS THEREFORE ORDERED that the revocation hearing currently scheduled

11   for Monday, July 29, 2024 at 10:30 a.m., be vacated and advanced to July 10, 2024 at the

12   hour of 10:00 a.m.; or to a time and date convenient to the court.

13          DATED this 28th day of June, 2024.

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                                                  Jennifer A. Dorsey
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                                                  United States District Judge
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